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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LETITIA M. BOWENS,

Plaintiff,
                                                                Case No.: 1:18-cv-07816
v.
                                                   Honorable Judge Harry D. Leinenweber
ACCOUNT RECOVERY SOLUTIONS, LLC,

Defendant.

                                DEFAULT JUDGMENT ORDER

     1. Judgment by Default is entered in favor of Plaintiff Jacob Lewis and against Defendant

        Account Recovery Solutions, LLC, as follows:

             a. Damages                      $19,000.00

             b. Attorney Fees                       $2,871.25

             c. Costs                               $565.00

     2. Allowing judgment interest to be added per diem.



Dated: ____________________

                                                    Entered:

                                                    /s/________________________
